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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY, Individually,
Plaintiffs,
V. : Case No. 2:18-cv-03554 (WB)
MILLENNIUM HOTEL GROUP LLC d/b/a
Rodeway Inn Center City Philadelphia, a
Pennsylvania Limited Liability Company,
and
CHOICE HOTELS INTERNATIONAL INC.
d/b/a Rodeway Inn Center City Philadelphia, a

Delaware Corporation.

Defendant.

 

AMENDED COMPLAINT
(Injunctive Relief Demanded)

Plaintiff, OWEN HARTY, Individually, on his behalf and on behalf of all other individuals

similarly situated, (sometimes referred to as “Plaintiff’), hereby sues the Defendants, MILLENNIUM

HOTEL GROUP LLC d/b/a Rodeway Inn Center City Philadelphia, a Pennsylvania Limited Liability

Company, and CHOICE HOTELS INTERNATIONAL, INC., a Delaware Corporation (sometimes

referred to as “Defendants”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1. Plaintiff is a Florida resident, lives in Broward County, is sui juris, and qualifies as

an individual with disabilities as defined by the ADA. Plaintiff is unable to engage

in the major life activity of walking. Instead, Plaintiff is bound to ambulate in a

wheelchair.
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Plaintiff is an advocate of the rights of similarly situated disabled persons and is a
"tester" for the purpose of asserting his civil rights and monitoring, ensuring, and
determining whether places of public accommodation and their websites are in
compliance with the ADA.

Defendants own, lease, lease to, or operate a place of public accommodation as
defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a)
and 36.104. The place of public accommodation that the Defendant owns, operates,
leases or leases to is a place of lodging known as 1208 WALNUT ST
PHILADELPHIA PA 19107, and is located in the County of Philadelphia,
(hereinafter "Property").

Venue is properly located in the EASTERN DISTRICT OF PENNSYLVANIA
because venue lies in the judicial district of the property situs. The Defendant’s
property is located in and does business within this judicial district.

Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given
original jurisdiction over actions which arise from the Defendants’ violations of Title
III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seg. See also 28
U.S.C. § 2201 and § 2202.

As the owner, lessor, lessee, or operator of the subject premises, Defendant is
required to comply with the ADA. As such, Defendant is required to ensure that its
place of lodging is in compliance with the standards applicable to places of public
accommodation, as set forth in the regulations promulgated by the Department Of

Justice. Said regulations are set forth in the Code Of Federal Regulations, the
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Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the
2010 ADA Standards, incorporated by reference into the ADA. These regulations
impose requirements pertaining to places of public accommodation, including places
of lodging, to ensure that they are accessible to disabled individuals.

More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following
requirement:

Reservations made by places of lodging. A public accommodation that owns,
leases (or leases to), or operates a place of lodging shall, with respect to
reservations made by any means, including by telephone, in-person, or through a
third party -

(i) Modify its policies, practices, or procedures to ensure that individuals
with disabilities can make reservations for accessible guest rooms during
the same hours and in the same manner as individuals who do not need
accessible rooms;

(ii) Identify and describe accessible features in the hotels and guest rooms
offered through its reservations service in enough detail to reasonably
permit individuals with disabilities to assess independently whether a
given hotel or guest room meets his or her accessibility needs;

(i11) Ensure that accessible guest rooms are held for use by individuals
with disabilities until all other guest rooms of that type have been rented
and the accessible room requested is the only remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of
guest rooms and ensure that the guest rooms requested are blocked and
removed from all reservations systems; and

(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of
whether a specific room is held in response to reservations made by others.

These regulations became effective March 15, 2012.
Defendants, either themselves or by and through a third party, implemented,
operate, control and or maintain a website for the Property which contains an

online reservations system. This website is located at www.rodewayinncc.com.
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This term also includes all websites owned and operated by Defendants or by third
parties to book or reserve guest accommodations at the hotel. The purpose of this
website is so that members of the public may reserve guest accommodations and
review information pertaining to the goods, services, features, facilities, benefits,
advantages, and accommodations of the Property. As such, this website is subject
to the requirements of 28 C.F.R. Section 36.302(e).

Prior to the commencement of this lawsuit, Plaintiff visited the website for the
purpose of reviewing and assessing the accessible features at the Property and
ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and
his accessibility needs. However, Plaintiff was unable to do so because the
Defendants failed to comply with the requirements set forth in 28 C.F.R. Section
36.302(e). As a result, Plaintiff was deprived the same goods, services, features,
facilities, benefits, advantages, and accommodations of the Property available to
the general public.

In the near future, Plaintiff intends to revisit Defendants’ website and/or online
reservations system in order to test it for compliance with 28 C.F.R. Section
36.302(e) and/or to utilize the website to reserve a guest room and otherwise avail
himself of the goods, services, features, facilities, benefits, advantages, and
accommodations of the Property.

Plaintiff is continuously aware that the subject website remains non-compliant and
that it would be a futile gesture to revisit the website as long as those violations

exist unless he is willing to suffer additional discrimination.
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The violations present at Defendants’ website infringe Plaintiff's right to travel
free of discrimination and deprive his of the information required to make
meaningful choices for travel. Plaintiff has suffered, and continues to suffer,
frustration and humiliation as the result of the discriminatory conditions present at
Defendants’ website. By continuing to operate a website with discriminatory
conditions, Defendants contribute to Plaintiff's sense of isolation and segregation
and deprives Plaintiff the full and equal enjoyment of the goods, services,
facilities, privileges and/or accommodations available to the general public. By
encountering the discriminatory conditions at Defendants’ website, and knowing
that it would be a futile gesture to return to the website unless he is willing to
endure additional discrimination, Plaintiff is deprived of the same advantages,
privileges, goods, services and benefits readily available to the general public. By
maintaining a website with violations, Defendants deprive Plaintiff the equality of
opportunity offered to the general public.

Plaintiff has suffered and will continue to suffer direct and indirect injury as a
result of the Defendants’ discrimination until the Defendant is compelled to
modify its website to comply with the requirements of the ADA and to continually
monitor and ensure that the subject website remains in compliance.

Plaintiff has a realistic, credible, existing and continuing threat of discrimination
from the Defendants’ non-compliance with the ADA with respect to this website.
Plaintiff has reasonable grounds to believe that he will continue to be subjected to

discrimination in violation of the ADA by the Defendants.
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The Defendants have discriminated against the Plaintiff by denying him access to,
and full and equal enjoyment of, the goods, services, facilities, privileges,
advantages and/or accommodations of the subject website.

The Plaintiff and all others similarly situated will continue to suffer such
discrimination, injury and damage without the immediate relief provided by the
ADA as requested herein.

Defendants have discriminated against the Plaintiff by denying him access to full
and equal enjoyment of the goods, services, facilities, privileges, advantages
and/or accommodations of its place of public accommodation or commercial
facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e).
Furthermore, the Defendants continue to discriminate against the Plaintiff, and all
those similarly situated by failing to make reasonable modifications in policies,
practices or procedures, when such modifications are necessary to afford all
offered goods, services, facilities, privileges, advantages or accommodations to
individuals with disabilities; and by failing to take such efforts that may be
necessary to ensure that no individual with a disability is excluded, denied
services, segregated or otherwise treated differently than other individuals because
of the absence of auxiliary aids and services.

Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s
fees, costs and litigation expenses from the Defendants pursuant to 42 U.S.C. §

12205 and 28 CFR 36.505.
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20. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant
Plaintiff Injunctive Relief, including an order to require the Defendant to alter the
subject website to make it readily accessible and useable to the Plaintiff and all
other persons with disabilities as defined by the ADAand 28 C.F.R. Section
36.302(e); or by closing the website until such time as the Defendants cure
violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a. The Court issue a Declaratory Judgment that determines that the Defendants at the
commencement of the subject lawsuit is in violation of Title III of the Americans
with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

b. Injunctive relief against the Defendants including an order to revise its website to
comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

maintain the website to ensure that it remains in compliance with said requirement.

c. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.
§ 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable under

Title III of the Americans with Disabilities Act.

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Respectfully Submitted, >_
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Ce OU Ss

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